           Case 1:21-cv-08824-PAE Document 77 Filed 02/23/22 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 LEON D. BLACK,

                                       Plaintiff,                       21 Civ. 8824 (PAE)
                        -v-
                                                                               ORDER
 GUZEL GANIEVA ET AL,

                                       Defendants.


PAUL A. ENGELMAYER, District Judge:

        To enable an in-person conference to be held, the Court hereby adjourns the initial

pretrial conference scheduled for February 25, 2022 to March 10, 2022, at 9:00 a.m. Counsel

are directed to appear in Courtroom 1305 at the Thurgood Marshall U.S. Courthouse, 40 Centre

Street, New York, New York 10007. Participants are directed to review the District's COVID-

19 protocols for courthouse entry, which are available online at

https://www.nysd.uscourts.gov/covid-19-coronavirus, to ensure that they will be able to gain

entry to the courthouse for the conference. All conferences with the Court are scheduled for a

specific time; there is no other matter scheduled for that time, and counsel are directed to appear

promptly. All pretrial conferences must be attended by the attorney who will serve as principal

trial counsel.

        The Court has a criminal conference that is presently scheduled to begin at 11 a.m.,

although the exact timing will depend on a prisoner production schedule that has yet to issue.

Counsel are notified that the Court may need to interrupt the conference in this case to attend to

the criminal matter.
Case 1:21-cv-08824-PAE Document 77 Filed 02/23/22 Page 2 of 2
